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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARVIN POWELL,                                                 CIVIL ACTION
              Plaintiff,

                  v.

SAINT JOSEPH’S UNIVERSITY,                                     NO. 17-4438
WILLIAM BORDAK,
LAURA EGAN, and
ANDREW SHAPREN,
                Defendants.

DuBois, J.                                                                       February 16, 2018
                                       MEMORANDUM

      I.      INTRODUCTION

           In this suit stemming from the investigation by defendant Saint Joseph‘s University

(―University‖) into allegations of sexual misconduct against plaintiff, plaintiff alleges that the

University, its employees, and an outside investigator hired by the University, discriminated

against him on the basis of sex. Plaintiff‘s Amended Complaint sets forth claims for breach of

contract, violation of Title IX, negligence, and violation of Pennsylvania‘s Unfair Trade

Practices and Consumer Protection Law (―UTPCPL‖). Before the Court is the Motion to

Dismiss Plaintiff‘s Amended Complaint filed by the University and William Bordak.1 The Court

concludes the Amended Complaint states a plausible claim for relief only for plaintiff‘s contract

claim. Thus, defendants‘ Motion to Dismiss is denied as to that claim and granted as to all other

claims.




1
    Defendants Laura Egan and Andrew Shapren have not yet been served with process.
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    II.      BACKGROUND

          The facts below are drawn from plaintiff‘s Amended Complaint and the documents upon

which it relies.2 The Court construes the Amended Complaint in the light most favorable to the

plaintiff, as it must in a motion to dismiss. Those facts may be summarized as follows:

          Sometime in early 2015, plaintiff enrolled in a course at the University described as a

―sophomore seminar.‖ Am. Compl. ¶¶ 13-14. In February 2015, three female students in the

seminar filed separate complaints against plaintiff with University officials. Am. Compl. ¶ 14.

The complaints alleged that, outside of the seminar classroom, plaintiff confronted the three

female students multiple times about their ―feminist‖ beliefs and stared at them during the

seminar. Doc. No. 1, exh. D. Following the filing of the complaints, the University began an

investigation into plaintiff‘s conduct to determine whether it violated the University‘s Interim

Policy Regarding Sexual Assault, Sexual Exploitation, Domestic Violence, Dating Violence, or

Stalking for Student Respondents (―Interim Policy‖). Am. Compl. ¶ 14

          The Interim Policy prohibits a range of activities, collectively referred to as ―Sexual

Misconduct,‖ including Sexual Assault, Domestic Violence, Dating Violence, Sexual

Exploitation, and Stalking. Doc. No. 1, exh. A at 6. Plaintiff was investigated for violating the

Interim Policy‘s prohibition on ―Stalking,‖ defined as ―[e]ngaging in a course of conduct



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  In the Amended Complaint, plaintiff quotes the University‘s relevant policies, refers to a
document signed by plaintiff at a Pre-Investigation Meeting with defendant William Bordak, and
refers to a letter plaintiff received summarizing the findings of defendant Andrew Shapren, the
University‘s outside investigator. The Amended Complaint states that the documents are
attached as Exhibits A-D, but those exhibits were not attached to the copy of the Amended
Complaint filed with the Court. However, the original Complaint, substantially similar to the
Amended Complaint, includes the same documents as exhibits. Because this Court may consider
―undisputedly authentic documents if the complainant‘s claims are based upon these documents‖
in deciding a motion to dismiss, Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010), the Court
concludes that the documents attached to the original Complaint are properly before the Court in
deciding defendants‘ Motion to Dismiss the Amended Complaint.
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directed at a specific person that would cause a reasonable person to fear for his or her safety or

the safety of others; or suffer severe emotional distress.‖ Id. at 12; Doc. No.1, exh. D.

        The Interim Policy provides procedures for investigating alleged Sexual Misconduct.

Once a complaint is filed with University officials, the University hires an outside investigator to

assess the complaint. Doc. No. 1, exh. A at 28. The investigator ―must be professionally trained

to conduct Sexual Misconduct investigations, and his or her objectivity should not be

compromised by a previously-existing relationship‖ with the parties. Id. The Interim Policy

allows any involved party to object to the investigator within twenty-four hours of receiving

notice of his or her name. Id. The Interim Policy also provides that ―[p]rior to commencement

of the investigation, individual pre-investigation meetings may be scheduled with the‖ parties.

Id. Finally, the Interim Policy states that ―investigation shall include interviews with the parties

and witnesses, and review of any relevant documents or other evidence‖ and that the investigator

is to provide a report summarizing his findings ―based on a preponderance of the information.‖

Id. at 28, 30.

        Pursuant to the Interim Policy, the University hired defendant Andrew Shapren to

investigate the complaints against plaintiff. Am. Compl. ¶ 15. Prior to the commencement of

Shapren‘s investigation, defendant William Bordak, an employee of the University, held a Pre-

Investigation Meeting with plaintiff. Am. Compl. ¶¶ 5, 21. During the meeting, plaintiff

reviewed a document stating the ―terms‖ of the investigation. Am. Compl. ¶ 5. The document

identified Shapren as the outside investigator. Doc. No. 1, exh. C at 2. The document also stated

that ―[i]f during the course of the investigation other conduct that might be a violation of this or

other University policies is discovered or identified, this additional conduct must be reported to

the appropriate University Official(s) and may be subject to a separate process.‖ Id. The same



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provision appears in the Interim Policy. Doc. No. 1, exh. A at 28. Both plaintiff and Bordak

signed the document at the Pre-Investigation Meeting. Doc. No. 1, exh. C at 4.

        During the course of his investigation, Shapren interviewed Powell and the three female

students. Am. Compl. ¶ 19. In an interview with Shapren, plaintiff was critical of the clothing

of one of the women as sexually suggestive and inconsistent with her ―feminist viewpoint.‖

Doc. No. 1, exh. D. Shapren also reviewed a drawing by plaintiff, which depicted one of the

female students as an ―evil feminist vampire‖ and a ―blood sucking leech‖ biting off the head of

a man. Am. Compl. ¶ 34; Doc. No. 1, exh. D. In his report, however, Shapren concluded that

plaintiff ―more likely than not‖ did not violate the Interim Policy for Stalking because a

reasonable person would not fear for her safety or suffer from severe emotional distress due to

plaintiff‘s conduct. Am. Compl. ¶ 18; Doc. No. 1, exh. D.

        Despite finding that plaintiff did not violate the Interim Policy, Shapren concluded that

plaintiff violated a second University policy, the Policy Prohibiting Discrimination, Harassment

and Retaliation (―PPDHR‖). Am. Compl. ¶¶ 6, 11; Doc. No. 1, exh. D. The parties provided

two versions of the PPDHR to the Court. First, with respect to that policy, the Court must

determine which version is applicable to this case. There is a version of the PPDHR attached to

plaintiff‘s original Complaint, but not the Amended Complaint. Unfortunately, that version of

the policy is dated November 20, 2015, and is inapplicable to the conduct in question, which

occurred prior to plaintiff‘s expulsion on April 13, 2015. Doc. No. 1, exh. B; Am. Compl. ¶ 28.

The version of the PPDHR attached to defendants‘ Motion to Dismiss is stamped, ―Student

Handbook Revised: 1/15/2015,‖ a date prior to the events in this case. Doc. No. 7, exh. 2 at 77.

That is the policy that is applicable to this case.




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       Based on the PPDHR dated January 15, 2015, in effect at the time relevant to this case,

Shapren found that plaintiff violated the PPDHR‘s prohibition on ―Harassment.‖ Shapren

correctly relied on the definition of ―Harassment‖ in that version of the PPDHR—―any

unwelcomed, unsolicited and offensive conduct that tends to injure, degrade, disgrace or show

hostility toward a person because of his or her membership in a class of persons protected by

law. . . . For an incident to constitute harassment, it must be offensive to a reasonable person.‖

Doc. No. 7, exh. 2 at 77. The PPDHR further provides that ―[t]he law prohibits discrimination

and harassment on the basis of sex/gender, race, age of 40 or over, color, religion, national

origin, ethnic origin, sexual orientation, disability, marital status, and military and military

veteran status.‖ Id.

       Plaintiff contends that Shapren reached his conclusion that plaintiff violated the PPDHR

by using an erroneous definition of Harassment. Am Compl. ¶¶ 28-30; Doc. No. 1, exh. B at 3.

Plaintiff‘s argument is rejected. In making that argument, plaintiff relies on the PPDHR dated

November 20, 2015, after the events in question. As noted above, that version of the PPDHR is

not applicable to this case.

       Shapren, who was retained to investigate a potential violation of the Interim Policy,

concluded that he could consider violations of the PPDHR because the Interim Policy provides,

―If particular conduct by student respondent would be prohibited by both the PPDHR and this

Policy, this Policy controls.‖ Am. Compl. ¶ 19; Doc. No. 1, exh. A at 4. Shapren did not report

to the University that he was considering violations of the PPDHR, despite the provision of the

Interim Policy requiring that the discovery of ―other conduct . . . must be reported‖ to the

University. Am. Compl. ¶¶ 25-26. Shapren concluded plaintiff violated the PPDHR‘s




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prohibition on Harassment because his conduct was ―motivated by gender‖ and was ―offensive

to a reasonable person.‖ Doc. No. 1, exh. D.

           Defendant Laura Egan made the final decision to expel plaintiff. Am. Compl. ¶ 42.

Plaintiff was informed of the University‘s decision to expel him by letter dated April 13, 2015.

Doc. No. 1, exh. D.

           Plaintiff filed a Complaint in the Court of Common Pleas of Philadelphia County on

September 7, 2017. Defendants removed the case to this Court on October 4, 2017. Plaintiff

filed his Amended Complaint on October 26, 2017. The Amended Complaint sets forth four

claims against each of the defendants: breach of contract, violation of Title IX of the Education

Act Amendments of 1972, 20 U.S.C. § 1681, negligence, and violation of Pennsylvania‘s Unfair

Trade Practices and Consumer Protection Law (―UTPCPL‖), 73 Penn. Stat. § 201-1 et seq. The

University and Bordak filed the present Motion to Dismiss on November 17, 2017. Defendants‘

Motion is ripe for decision.

    III.      LEGAL STANDARD

           ―The purpose of a 12(b)(6) motion to dismiss is to test the legal sufficiency of the

complaint,‖ not the merits. Nelson v. Temple Univ., 920 F. Supp. 633, 634 n.2 (E.D. Pa. 1996).

To survive a motion to dismiss, plaintiff must allege ―sufficient factual matter, accepted as true,

to state a claim for relief that is plausible on its face.‖ Ashcroft v. Iqbal, 556 U.S. 662 (2009).

―A claim has facial plausibility when the pleaded factual content allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.‖ Id. at 663. In

assessing the plausibility of the plaintiff‘s claims, a district court first identifies those allegations

that constitute nothing more than ―legal conclusions‖ or ―naked assertions.‖ Bell Atl. Corp. v.

Twombly, 550 U.S. 554, 555, 557 (2007). Such allegations are ―not entitled to the assumption of



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truth.‖ Iqbal, 556 U.S. at 679. The court then assesses ―the ‗nub‘ of the plaintiff[‘s]

complaint—the well-pleaded, nonconclusory factual allegation[s]‖—to determine whether it

states a plausible claim for relief. Id. ―In deciding a Rule 12(b)(6) motion, a court must consider

only the complaint, exhibits attached to the complaint, matters of public record, as well as

undisputedly authentic documents if the complainant‘s claims are based upon these documents.‖

Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010).

   IV.      DISCUSSION

         In their Motion to Dismiss, defendants argue: (1) plaintiff‘s contract claim should be

dismissed because plaintiff does not specify which university policies defendants breached;

(2) plaintiff‘s Title IX claim should be dismissed because he does not allege any facts supporting

an inference of discriminatory intent based on sex; (3) plaintiff‘s negligence claim is barred by

the gist of the action doctrine; and (4) under Third Circuit precedent, plaintiff‘s UTPCPL claim

is barred by the economic loss doctrine.

         Plaintiff responds that (1) he has stated a claim for breach of contract because he did not

receive notice of and an opportunity to respond to the charges against him under the PPDHR as

required by that policy; (2) he has stated a claim for violation of Title IX because the Amended

Complaint alleges that he was an African-American male whose accusers were all white women;

these allegations, plaintiff contends, are sufficient to establish an inference of discriminatory

intent; and (3) the Amended Complaint alleges sufficient facts to support an inference of

deceptive conduct and ascertainable loss under the UTPCPL. In his Answer [sic] to the Motion

to Dismiss, plaintiff does not address either dismissal of his negligence claim or defendant‘s

argument that the economic loss doctrine bars his claim under the UTPCPL.




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           A. Breach of Contract

       Defendants first argue that plaintiff has failed to state a claim for breach of contract. The

―relationship between a private educational institution and an enrolled student is contractual in

nature.‖ Swartley v. Hoffner, 734 A.2d 915, 919 (Pa. Super. Ct. 1999); accord Barker v. Bryn

Mawr Coll., 122 A. 220, 221 (Pa. 1923). Thus, to state a claim against a university, a student

plaintiff must allege ―there was a contract, the defendant breached it, and plaintiff[] suffered

damages from the breach.‖ McShea v. City of Phila., 995 A.2d 334, 340 (Pa. 2010). The

contract between a student and a university is ―is comprised of the written guidelines, policies,

and procedures as contained in the written materials distributed to the student over the course of

their enrollment in the institution.‖ Swartley, 734 A.2d at 919. Courts review the agreement

between a student and a private university ―as [they] would any other agreement between two

private parties.‖ Reardon v. Allegheny Coll., 926 A.2d 477, 480 (Pa. Super. Ct. 2007) (citing

Murphy v. Duquesne Univ. of the Holy Ghost, 777 A.2d 418, 428 (Pa. 2001)). Consequently, a

breach of contract claim against a private university ―must relate to a specific and identifiable

promise that the school failed to honor.‖ Vurimindi v. Fuqua Sch. of Bus., 435 F. App‘x 129,

133 (3d Cir. 2011).

               1. Contract Claims Against the University

       In this case, the Amended Complaint sufficiently alleges that the University failed to

provide plaintiff notice of and an opportunity to respond to the charges against him under the

PPDHR, as required by that policy. See Am. Compl. ¶¶ 49(a)-(b), (e). As an initial matter, the

defendants concede the existence of a contractual relationship between plaintiff and the

University. Defs‘. Mem. Law Supp. Mot. Dismiss, Doc. No. 7-1 at 11. Plaintiff argues that,

under this contractual relationship, defendants should have investigated plaintiff‘s conduct under

the PPDHR, not the Interim Policy. Doc. No. 9 at 11-12. As noted above, the Interim Policy
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provides, ―If particular conduct by student respondent would be prohibited by both the PPDHR

and this Policy, this Policy controls.‖ Doc. No. 1, exh. A at 4 (emphasis added). Because

Shapren ultimately found that plaintiff violated only the PPDHR, plaintiff argues that this

provision of the Interim Policy does not apply and plaintiff should have been investigated under

the PPDHR. Doc. No. 9 at 11. The Court agrees.

       Moreover, plaintiff alleges that defendant‘s failure to investigate plaintiff under the

PPDHR deprived him of notice of the charges against him and an opportunity to respond, as

required by the PPDHR. Am. Compl. ¶ 49(e). The PPDHR requires the delivery of the

complaint to the accused student and an opportunity to respond in writing. Doc. No. 7, exh. 2 at

83. In contrast, the Interim Policy provides only that a Pre-Investigation Meeting ―may‖ be

scheduled with the accused student. Doc. No. 1, exh. A at 28. Plaintiff did not receive either of

those safeguards provided in the PPDHR. Coupled with plaintiff‘s allegation that Shapren failed

to report that plaintiff may have violated the PPDHR before including it in his report, Am.

Compl. ¶¶ 25-27, these allegations are sufficient to state a claim that the University violated the

PPDHR‘s requirement that a student under investigation be given notice and an opportunity to

respond.

       The University argues that plaintiff‘s interpretation of the Interim Policy and the PPDHR

would require it ―to investigate plaintiff twice, once for sexual misconduct and once for sexual

harassment under two different policies with two different sets of procedures.‖ Doc. No. 13 at 2.

The Court disagrees. As an initial matter, the Interim Policy expressly contemplates that ―other

conduct‖ discovered during the course of an investigation ―may be subject to a separate process.‖

Doc. No. 1, exh. A at 28. More importantly, plaintiff does not claim that the University is

required to conduct two investigations in every case, but merely to adhere to the requirements of



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its policies. Once Shapren determined that the Interim Policy was no longer applicable to

plaintiff‘s conduct and that the PPDHR was, the University and Shapren were required to

proceed under the correct policy—in this case, the PPDHR. The allegations of the Amended

Complaint are sufficient to survive a motion to dismiss, and defendants‘ Motion is denied as to

plaintiff‘s breach of contract claims based on the PPDHR, as set forth in subparagraphs 49(a)-(b)

and (e) of the Amended Complaint.

       The Amended Complaint, however, fails to set forth sufficient factual allegations to

support the remainder of the breach of contract claims against the University in Count I of the

Amended Complaint. Plaintiff alleges that the University failed to hire a qualified investigator

and applied a ―lax‖ standard of proof in the investigation. Am. Compl. ¶ 49(k)-(l). Although

these claims are related to specific provisions in the Interim Policy, they are not supported by

adequate factual allegations. The Interim Policy provides that the investigator ―must be

professionally trained to conduct Sexual Misconduct investigations‖ and must make his findings

―based on a preponderance of the information.‖ Doc. No. 1, exh. A at 28, 30. The Amended

Complaint, however, alleges no facts regarding Shapren‘s background or why his findings were

not supported by a preponderance of the information. Thus, plaintiff‘s claims in subparagraphs

49(j)-(l) of the Amended Complaint are dismissed without prejudice.

       Finally, plaintiff‘s claims that the University violated a variety of procedural safeguards

other than the notice and response requirements of the PPDHR are not based on any specific

contractual obligations imposed on the University. See Am. Compl. ¶ 49(c)-(d), (f)-(j), (m).

These claims include allegations that the University conducted a biased investigation, wrote a

―superficial, conclusory, and capricious‖ investigation report, failed to provide plaintiff with that

report prior to interviewing him, denied plaintiff ―basic due process,‖ and provided ―a



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disciplinary process that was fundamentally unfair.‖ Id. At a private university, however, a

student is ―entitled only to those procedural safeguards which the school specifically provides‖

in its contract with the student. Boehm v. Univ. of Pa. Sch. of Veterinary Med., 573 A.2d 575,

579 (Pa. Super. 1990). A private university‘s disciplinary process ―do[es] not give rise to

‗fairness‘ obligations that are independent of, and separate from, the obligations imposed by the

more specific provisions‖ in the parties‘ contract. Doe v. Trs. of the Univ. of Pa., No. 16-5088,

2017 U.S. Dist. LEXIS 148086, at *18 (E.D. Pa. Sep. 13, 2017). Plaintiff has not identified

which provisions of University policy require the procedural safeguards that defendants are

alleged to have breached in subparagraphs 49(c)-(d), (f)-(j), and (m) of the Amended Complaint.

Consequently, the claims in those subparagraphs are dismissed without prejudice.

               2. Contract Claims Against Bordak

       Defendants also argue that because plaintiff has not pled that there was privity of contract

between plaintiff and Bordak, plaintiff‘s contract claims against Bordak must be dismissed. This

Court agrees. In Pennsylvania, ―it is a basic tenet of agency law that an individual acting as an

agent for a disclosed [principal] is not personally liable on a contract between the [principal] and

a third party unless the agent specifically agrees to assume liability.‖ Casey v. GAF Corp., 828

A.2d 362, 369 (Pa. Super. 2003) (alteration in original) (quoting B & L Asphalt Indus., Inc. v.

Fusco, 753 A.2d 264, 270 (Pa. Super. 2000)). It is admitted that Bordak was an employee of the

University. Therefore, he may be liable for breach of contract only if he assumed liability, and

that is not alleged in the Amended Complaint. Thus, plaintiff‘s contract claim against Bordak is

dismissed without prejudice.

           B. Violation of Title IX

       Defendant next argues that plaintiff has failed to allege facts supporting a claim under

Title IX. Congress enacted Title IX, 20 U.S.C. §§ 1681–88, ―to supplement the Civil Rights Act
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of 1964‘s bans on racial discrimination in the workplace and in universities‖ with a ban on

sexual discrimination in universities. Yusuf v. Vassar Coll., 35 F.3d 709, 714 (2d Cir. 1994).

Title IX provides, in relevant part, that ―[n]o person in the United States shall, on the basis of

sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance.‖

20 U.S.C. § 1681(a). A federal court is not bound by any theory or framework in evaluating

claims under Title IX, cf. Doe v. Cummins, 662 F. App‘x 437, 451 (6th Cir. 2016), and

regardless of any theory or framework set forth by the parties, a plaintiff must plead facts

supporting an inference that ―the conduct of the university in question was motivated by a sexual

bias,‖ Mallory v. Ohio Univ., 76 F. App‘x 634, 638 (6th Cir. 2003). A ―conclusory allegation of

gender discrimination is not sufficient to survive a motion to dismiss.‖ Yusuf, 35 F.3d at 715.

       In this case, plaintiff contends that he has stated a claim under the ―Erroneous Outcome‖

and ―Selective Enforcement‖ theories. Doc. No. 9 at 8. Under the Erroneous Outcome theory, a

plaintiff ―must allege particular facts sufficient to cast some articulable doubt on the accuracy of

the outcome of the disciplinary proceeding . . . [and] also allege particular circumstances

suggesting that gender bias was a motivating factor behind the erroneous finding.‖ Yusuf, 35

F.3d at 715. Under the Selective Enforcement theory, a plaintiff ―asserts that, regardless of the

student‘s guilt or innocence, the severity of the penalty and/or the decision to initiate the

proceeding was affected by the student‘s gender.‖ Id. at 715. He has failed to do so.

               1. Title IX Claim Against the University

       The Amended Complaint does not allege facts supporting an inference that the

University‘s conduct was motivated by gender bias. Such allegations might include ―statements

by members of the disciplinary tribunal, statements by pertinent university officials, or patterns



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of decision-making that also tend to show the influence of gender.‖ Yusuf, 35 F.3d at 715.

Inferences of gender bias may also be inferred from allegations that similarly situated individuals

were treated differently or that university administrators faced outside pressure to discriminate

against one sex or gender. Doe v. Cummins, 662 F. App‘x 437, 452 (6th Cir. 2016); Doe v.

Columbia Univ., 831 F.3d 46, 58 (2d Cir. 2016). There are no such allegations in the Amended

Complaint.

        Plaintiff has not alleged that members of the disciplinary tribunal or university staff made

statements evincing bias or that the university faced outside pressure to discriminate against

males. He does allege that the ―biased and one-sided process [at the University] deprives male

students of educational opportunities on the basis of gender,‖ but this allegation is conclusory

and is disregarded in assessing the sufficiency of the Amended Complaint. The Amended

Complaint also avers that the investigation was ―based upon the facts presented by three female

Caucasian students [which] indicate[] that [Shapren] was biased against Powell due to his race

and gender.‖ Am. Compl. ¶¶ 54, 60. These allegations are also conclusory and do not support a

reasonable inference of gender bias on the part of the University. Consequently, plaintiff‘s claim

under Title IX against the University is dismissed without prejudice.

                2. Title IX Claim Against Bordak

        Defendants also argue that Bordak cannot be held liable under Title IX, as its provisions

do not apply to individuals. ―Title IX reaches institutions and programs that receive federal

funds . . . but it has consistently been interpreted as not authorizing suit against school officials,

teachers, and other individuals‖ as they are not educational programs receiving federal funding.

Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246, 257 (2009). The Third Circuit has adopted

this reasoning in ruling that individuals may not be liable under the Rehabilitation Act, 29 U.S.C.



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§ 794, an analogous statute that prohibits discrimination against persons with disabilities by a

―program or activity receiving Federal financial assistance.‖ Emerson v. Thiel Coll., 296 F.3d

184, 190 (3d Cir. 2002). The Third Circuit reasoned that ―[b]ecause [] individual defendants do

not receive federal aid,‖ they cannot be held liable under the Rehabilitation Act and that ―[t]his

result is consistent with decisions finding no individual liability under Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681(a), which prohibits discrimination on the basis of sex by

an education program or activity receiving federal funding.‖ Id. Bordak is an individual who

did not receive federal funding. Thus, plaintiff‘s claim against Bordak under Title IX is

dismissed with prejudice.

           C. Negligence

       Defendants argue that plaintiff‘s claim for negligence is barred by the gist of the action

doctrine. Pennsylvania courts apply the ―gist of the action doctrine‖ to ―maintain the conceptual

distinction between breach of contract claims and tort claims.‖ eToll, Inc. v. Elias/Savion

Advert., 811 A.2d 10, 14 (Pa. Super. 2002) (internal citations omitted). Although claims for

breach of contract and negligence ―derive from a common origin,‖ tort actions stem from

―breaches of duties imposed by law as a matter of social policy, while contract actions lie only

for breaches of duties imposed by mutual consensus.‖ Bash v. Bell Tel. Co., 601 A.2d 825, 829

(Pa. Super. 1992) (quoting Iron Mountain Security Storage Corporation v. American Specialty

Foods, Inc., 457 F.Supp. 1158, 1165 (E.D.Pa.1978)). Consequently, the doctrine has been

variously stated to bar negligence claims ―(1) arising solely from a contract between the parties

(2) where the duties allegedly breached were created and grounded in the contract itself

(3) where the liability stems from a contract; or (4) where the tort claim essentially duplicates a

breach of contract claim or the success of which is wholly dependent on the terms of a contract.‖

eToll, 811 A.2d at 19 (internal quotations omitted) (citations omitted).
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        Plaintiff‘s negligence claims in this case are barred by the gist of the action doctrine. The

duties owed by the defendants to plaintiff are premised entirely on the contractual relationship

between the parties, and not on duties imposed as a matter of social policy. Plaintiff has not

pointed to any duties defendants owed to plaintiff outside of the University‘s policies. Instead,

plaintiff alleges that Shapren did not notify the University of the ―other conduct‖ discovered in

his investigation, that he utilized the incorrect standard for ―harassment,‖ and that the University

did not provide him the academic freedom guaranteed by University policies. Am. Compl.

¶¶ 18, 23-24, 26-27, 28-30, 33. These allegations aver only breaches of duties imposed by the

parties‘ contractual agreement, and the gist of the action doctrines bars claims for negligence

based on these allegations. Reardon v. Allegheny College, 2007 PA Super 160, 926 A.2d 477

(Pa. Super. 2007) (ruling negligence claims were barred by the gist of the action doctrine where

the university policies ―represent[ed] the sole basis for the relationship between the parties‖).

        In his negligence claim, plaintiff further avers that the University failed to properly train

its employees. Am. Compl. ¶ 64. Plaintiff alleges that the University owed a duty to plaintiff

―independent of its breach of contract‖ to properly train staff to provide fair investigations,

adjudicate complaints of sexual misconduct, enforce the requirements of Title IX, and preserve

evidence. Am. Compl. ¶ 66(a)-(h). This claim fails for two reasons. First, in sum, the claim

alleges that University personnel failed to adhere to University policy. Thus, the claim is barred,

as above, by the gist of the action doctrine. Second, the Amended Complaint alleges no facts to

support an inference of inadequate hiring or training of Bordak and other employees by the

University. At best, the Amended Complaint alleges that a University-hired investigator failed

to follow one provision of University policy in conducting an investigation. These allegations

are insufficient to state a claim for negligence for failure to train.



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       Courts applying Pennsylvania law have dismissed similar claims for failure to train under

the gist of the action doctrine. In Harris v. St. Joseph’s Univ., No. 13-cv-3937, 2014 U.S. Dist.

LEXIS 65452, at *18 (E.D. Pa. May 13, 2014), plaintiff alleged that Saint Joseph‘s University

failed to ―train its employees, agents or representatives in the proper method to thoroughly

investigate and adjudicate, without bias, complaints of sexual misconduct.‖ The Harris court

dismissed the claims as barred by the gist of the action doctrine, reasoning that the claims arose

―from the contractual relationship between plaintiff and SJU‖ and that the injuries flowing from

the alleged negligence were identical to those from the alleged breach of contract. Id. at *20.

This Court agrees with the decision in Harris. Thus, this Court concludes that plaintiff‘s

negligence claims are barred by the gist of action doctrine and dismisses those claims with

prejudice.

             D. Violation of the UTPCPL

       Finally, plaintiff alleges that defendants‘ conduct violated Pennsylvania‘s Unfair Trade

Practices and Consumer Protection Law, 73 Penn. Stat. § 201-1 et seq. ―To bring a private cause

of action under the UTPCPL, a plaintiff must show that he justifiably relied on the defendant‘s

wrongful conduct or representation and that he suffered harm as a result of that reliance.‖ Yocca

v. Pittsburgh Steelers Sports, Inc., 854 A.2d 425, 438 (Pa. 2004).

       Defendants argue that plaintiff‘s claim under the UTPCPL is barred by the ―economic

loss doctrine‖ based on the Third Circuit decision in Werwinski v. Ford Motor Co., 286 F.3d

661, 681 (3d Cir. 2002). This Court agrees. The economic loss doctrine ―prohibits plaintiffs

from recovering in tort economic losses to which their entitlement flows only from a contract.‖3


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  Courts have recognized that the gist of the action and economic loss doctrines operate
―similarly.‖ Kimberton Healthcare Consulting, Inc. v. Primary PhysicianCare, Inc., No. 11-
4568, 2011 U.S. Dist. LEXIS 139980, at *19 (E.D. Pa. Dec. 6, 2011). Both doctrines serve to
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Id. at 671 (quoting Duquesne Light Co. v. Westinghouse Elec. Corp., 66 F.3d 604, 618 (3d Cir.

1995)). In Werwinski, the plaintiffs brought claims for breach of contract, intentional fraud, and

violation of the UTPCPL after purchasing vehicles with faulty transmissions. Id. at 664-65. The

Third Circuit affirmed the application of the economic loss doctrine to bar plaintiffs‘ UTPCPL

claim, holding that the economic loss doctrine bars claims for intentional fraud where the ―fraud

claims . . . are intertwined with contract claims‖ and ―the plaintiff can be made whole under

contract law.‖ Id. at 678, 680. Because the UTPCPL ―is broad enough to encompass nearly

every misrepresentation claim in the commercial sales context,‖ the economic loss doctrine

barred plaintiff‘s UTPCPL claim as duplicative of his contract claim. Id. at 681.

       Since Werwinski, however, the Pennsylvania Superior Court held in Knight v. Springfield

Hyundai, 81 A.3d 940, 951 (Pa. Super. 2013), that the economic loss doctrine does not bar

claims under the UTPCPL. The Superior Court reasoned that the Pennsylvania Supreme Court

has defined the economic loss doctrine as barring a ―cause of action . . . for negligence that

results solely in economic damages unaccompanied by physical injury or property damage.‖ Id.

at 952 (quoting Excavation Technologies, Inc. v. Columbia Gas Co. of Pennsylvania, 985 A.2d

840, 841 (Pa. 2009)). According to the Superior Court, UTPCPL claims are ―statutory

claims . . . and do not sound in negligence.‖ Thus, the Knight court ruled that the economic loss

doctrine does not apply to those claims. Id.


―determine whether tort claims that accompany contract claims should be allowed as
freestanding causes of action or rejected as illegitimate attempts to procure additional damages
for a breach of contract.‖ Bohler-Uddeholm Am., Inc. v. Ellwood Grp., Inc., 247 F.3d 79, 103
(3d Cir. 2001). Thus, the distinction between the two doctrines ―is largely one of pedigree,‖ as
the economic loss doctrine ―developed in the context of courts‘ precluding products liability tort
claims in cases where one party contracts for a product from another party and the product
malfunctions, injuring only the product itself.‖ Id. at *20 (E.D. Pa. Dec. 6, 2011) (quoting
Bohler-Uddeholm, Inc., 247 F.3d at 104 n.11). This Court, following the Third Circuit ruling in
Werwinski, will use the term ―economic loss doctrine‖ with respect to plaintiff‘s claim under the
UTPCPL.
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        After the decision in Knight, the courts in this District have split over whether to follow

the Third Circuit in Werwinski or the Pennsylvania Superior Court in Knight. Compare Whitaker

v. Herr Foods, Inc., 198 F. Supp. 3d 476, 489 (E.D. Pa. 2016) (concluding that Werwinski is

binding on district courts); McGuckin v. Allstate Fire & Cas. Ins. Co., 118 F. Supp. 3d 716, 720

(E.D. Pa. 2015) (same), with Kantor v. Hiko Energy, LLC, 100 F. Supp. 3d 421, 429 (E.D. Pa.

2015) (following Knight).

        Courts within the Third Circuit are bound by previous holdings of the Circuit on matters

of state law, absent ―a clear statement by the Pennsylvania Supreme Court to the contrary or

other persuasive evidence of a change in Pennsylvania law.‖ Smith v. Calgon Carbon Corp., 917

F.2d 1338, 1343 (3d Cir. 1990) (emphasis in original); accord Debiec v. Cabot Corp., 352 F.3d

117, 131 (3d Cir. 2003) (ruling that a previous holding by the Circuit is ―is binding . . .

notwithstanding the contradictory Pennsylvania Superior Court opinions on th[e] issue‖);

Whitaker, 198 F. Supp. 3d at 489-90. Thus, whether this Court is bound by Werwinski, a Third

Circuit case, or Knight, a Superior Court case, turns on whether Knight provides ―persuasive

evidence of a change in Pennsylvania law.‖ For the three reasons below, this Court concludes

that it does not.

        First, the Pennsylvania Supreme Court has applied the economic loss doctrine to bar a

private cause of action under other statutes. In Excavation Technologies, Inc. v. Columbia Gas

Co., 985 A.2d at 842-43 (Pa. 2009), the case relied upon by Knight, the Pennsylvania Supreme

Court held that the doctrine barred a private cause of action under Pennsylvania‘s One Call Act.

The One Call Act requires utility companies to mark gas lines upon request by an excavator. Id.

In Excavation Technologies, a utility company incorrectly marked certain gas lines, and the

plaintiff sued for negligent misrepresentation, arguing that the One Call Act created a statutory



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duty to accurately mark the lines. Id. at 842. The trial court granted defendant‘s demurrer

because the economic loss doctrine precluded liability for the plaintiff‘s economic losses. Id. at

841-42.

       In affirming the trial court, the Pennsylvania Supreme Court held, in part, that the

economic loss doctrine barred a private cause of action under the Act. The court reasoned that

the ―legislature was presumably aware of the economic loss doctrine when it established the

statutory scheme governing the relationship among the entities required to participate under the

Act.‖ Id. at 843. Because the legislature did not abrogate the economic loss doctrine in the

language of the Act, the Pennsylvania Supreme Court concluded that the Act ―did not provide a

private cause of action for economic losses.‖ Id. at 842-42, 844. Because the Act did not

provide a private cause of action for economic losses, the plaintiff in Excavation Technologies

could not bring a negligence claim for economic losses premised on the utility company‘s duties

under the Act. Id. at 844. The Superior Court‘s opinion in Knight does not discuss whether the

Pennsylvania legislature abrogated the economic loss doctrine in the UTPCPL, and the

distinction in Knight between negligence claims and statutory claims is not persuasive given the

reasoning in Excavation Technologies.

       Second, even if the distinction identified in Knight between statutory claims and

negligence claims is significant in analyzing the UTPCPL, the Knight court is inconsistent in its

characterization of the UTPCPL. In its brief analysis of the economic loss doctrine, the Knight

court concludes that claims under the UTPCPL are ―statutory claims . . . and do not sound in

negligence.‖ Knight, 81 A.3d at 952. Nonetheless, in its analysis of the related gist of the action

doctrine, the Knight court reaches the opposite conclusion. Id. at 951. In that part of the

opinion, the court concludes that claims under the UTPCPL are not barred by the gist of the



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action doctrine, because the UTCPL claims ―are not masked claims for breach of contract; the

gist of the action here is in tort, and the contract is collateral to the matters alleged.‖ Id. at 951.

Because of its contradictory characterizations of claims under the UTPCPL, Knight is of limited

persuasive value.

        Finally, the reasoning in Knight is perfunctory and rests on the Pennsylvania Supreme

Court‘s gloss that the economic loss doctrine precludes a ―cause of action . . . for negligence that

results solely in economic damages,‖ without any analysis of the doctrine itself. Knight, 81 A.3d

at 952 (quoting Excavation Technologies, 985 A.2d at 841). The Pennsylvania Supreme Court

has recognized that this statement of the economic loss doctrine is incomplete, because tort

actions for ―legal malpractice, accountant malpractice, and architect liability‖ nonetheless allow

for recovery of purely economic losses. Bilt-Rite Contractors, Inc. v. Architectural Studio, 866

A.2d 270, 288 (2005). Instead, the doctrine ―turns on the determination of the source of the duty

plaintiff claims the defendant owed.‖ Id. If the breach of a duty arises under the provisions of a

contract—as in this case—the breach ―must be redressed under contract, and a tort action will

not lie.‖ Id. (quoting Tommy L. Griffin Plumbing & Heating Co. v. Jordon, Jones & Goulding,

Inc., 463 S.E.2d 85, 88 (S.C. 1995)). The Superior Court did not analyze the UTPCPL in terms

of the source of the parties‘ duties, while the Third Circuit did so in Werwinski. Given the

brevity of its analysis, Knight is not persuasive.

        The question before this Court is not whether the rule in Werwinski or Knight is correct,

but whether Knight provides ―persuasive evidence of a change in Pennsylvania law.‖ This Court

concludes that it does not. Consequently, this Court will follow the holding in Werwinksi that

the economic loss doctrine bars claims under the UTPCPL that are ―intertwined with contract

claims.‖ As noted above, plaintiff‘s claims in this case are premised on the contract between him



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and the University. The Court concludes that the economic loss doctrine bars plaintiff‘s claim

under the UTPCPL and dismisses that claim with prejudice.

           E. Supplemental Jurisdiction

       When a district court ―has dismissed all claims over which it has original jurisdiction,‖ it

―may decline to exercise supplemental jurisdiction‖ over any remaining state law claims. 42

U.S.C. § 1367. The court‘s decision to continue exercising supplemental jurisdiction is

discretionary. Carlsbad Technology, Inc. v. HIF Bio, Inc., 556 U.S. 635, 639 (2009). If the case

was removed from state court, the federal court may issue an order remanding the case. Id. at

640.

       This Court will continue to exercise supplemental jurisdiction over the remaining claims

in this case. The parties have already supplied substantial briefing to the Court, allowing it to

become familiar with the issues in the case. Remanding to the Court of Common pleas would

only require a duplication of the judicial resources already invested by this Court. Further,

plaintiff could feasibly amend his Title IX claim to include allegations supporting an inference of

gender bias, thereby reinstating the federal claim over which this Court has original jurisdiction.

       V. CONCLUSION

       For the foregoing reasons, defendants Saint Joseph‘s University and William Bordak‘s

Motion to Dismiss Plaintiff‘s Amended Complaint is granted in part and denied in part. With

respect to Count I of the Amended Complaint for breach of contract against the University, the

Motion is granted without prejudice, except to the extent plaintiff avers in subparagraphs 49(a)-

(b) and (e) of that Count that the University failed to provide plaintiff notice of and an

opportunity to respond to the charges against him under the PPDHR, as to which the Motion is

denied. Count I of the Amended Complaint against Bordak is dismissed without prejudice.



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       Likewise, Count II of the Amended Complaint for violation of Title IX, 20 U.S.C.

§ 1861, is dismissed without prejudice as to the University and dismissed with prejudice as to

Bordak.

       Finally, Counts III and IV of the Amended Complaint against the University and Bordak

for negligence and for violation of Pennsylvania‘s Unfair Trade Practice and Consumer

Protection Law, 73 Penn. Stat. § 201-1 et seq., respectively, are dismissed with prejudice.

       The claims under subparagraphs 49(a)-(b) and (e) of the Amended Complaint are the

only remaining claims in the case on the present state of the record.

       ―[I]f a complaint is subject to a Rule 12(b)(6) dismissal, a district court must permit a

curative amendment unless such an amendment would be inequitable or futile.‖ Phillips v.

County of Allegheny, 515 F.3d 224, 245 (3d Cir. 2008). The Court does not find amendment

would be inequitable or futile with respect to Count I against the University and Bordak or Count

II against the University. Thus, plaintiff is granted leave to file an amended complaint within

twenty (20) days with respect to Counts I and II if warranted by the facts and applicable law as

stated in this Memorandum. An appropriate order follows.




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